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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES
CONSOLIDATED LITIGATION

CIVIL ACTION 05-4182

PERTAINS TO: SECTION “K” (2)

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Allen et al y. State Farm Fire and
Casualty Company, Case Number 07-5111
Judy Jones *

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Judge Stanwood R. Duval, Jr.

Mn

AFFIDAVIT OF JUDY JONES
IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT

STATE OF LOUISIANA
PARISH OF ORLEANS
1,
I, Judy Jones, a person of the full age of majority and a resident of the Parish of Orleans,
State of Louisiana, after having been first duly sworn, hereby depose and says:
2.
I am the plaintiff in the above-captioned case.
3.
On or about October 8, 2008, I received a settlement offer in the amount of $21,000.00
from Defendant, State Farm Fire and Casualty Company (“State Farm”).
4.
The Gross Settlement Amount of $25,000.00 consisted of a $14,000.00 offer for
“Dwelling;” a $3,000.00 offer for “Personal Property/Contents;” and a $4,000.00 offer for
“Additional Living Expense (ALE).” $7,000.00 ($4,000.00 for “Personal Property/Contents” and

$3,000.00 for “Additional Living Expense (ALEY”) of the settlement offer was disbursed on
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October 8, 2008 directly to me. The remaining $15,000.00 settlement offer for “Dwelling” is the
ONLY amount at issue. After Bruno & Bruno, LLP attempted to have the settlement check
reissued after dealing with the Louisiana Road Home, State Farm deposited the $14,000.00
“Dwelling” settlement offer amount in the State of Texas’s Unclaimed Property Fund.
Accordingly, this $14,000.00 amount is the amount at issue.

5.

The substance of the $14,000.00 “Dwelling” offer was that State Farm would pay me
previously withheld insurance proceeds for the loss sustained to my home as a result of Hurricane
Katrina, in exchange for my agreement to dismiss any and all actions against State Farm related to
the Hurricane Katrina homeowner’s insurance claim.

6.

After considering State Farm’s settlement offer and discussing with my attorney, Joseph
M. Bruno, I accepted the terms and conditions proposed by State Farm and executed the Settlement
Agreement on October 8, 2008. Pursuant to the agreement, I was to receive the previously
withheld settlement proceeds in exchange for the executed Settlement Agreement.

7.

Although I executed the Settlement Agreement and returned it to State Farm on or about
October 8, 2008, to date, State Farm has failed to honor its agreement and has failed to pay to the
proceeds previously guaranteed in return for the executed Settlement Agreement,

8.
At all times relevant herein, I have complied with the terms and conditions set forth in the

Settlement Agreement.
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Despite repeated demands, State Farm has not provided me with the agreed upon proceeds
from the Settlement Agreement.

10.

Upon information and belief, State Farm has disbursed the settlement proceeds to a
disinterested third party. The State of Texas contacted me and advised that State Farm has
forwarded the proceeds to the State’s Unclaimed Property Fund where the applicable settlement
has been deposited.

11.

At no time did I agree to allow State Farm deposit my settlement proceeds in the State of
Texas’s Unclaimed Property Fund.

12.

I have been advised by the State of Texas’s Unclaimed Property Fund that there is a fee
associated with the retrieval of my settlement proceeds from the State of Texas’s Unclaimed
Property Fund; however, should State Farm elect to retrieve the funds (settlement proceeds),
there would be no such fee associated with the retrieval.

13.

Despite repeated demands, State Farm has refused to retrieve my settlement proceeds

from the State of Texas’s Unclaimed Property Fund.
14,

Further Affiant sayeth not.
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IN WITNESS WHEREOF, the undersigned Party hereto has executed this Affidavit,
effective as of this 3 | ¥ & day of Jin, , 2015,

WITNESSES:

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Judy Jones
STATE OF LOUISIANA
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| “
On this ( | x day of ‘WY lw , 2015, before me, personally appeared: Judy

Jones, who is known to me to be the personPescribed in and who executed the forgoing instrument
did, after being duly sworn, acknowledge that said instrument was executed freely and for the

purposes therein set forth.

Notary Public Sa 16 0

Bar / License No

My comme: hve expires;

(Printed name of sotasy)

Donald DB. Reichert, Jr.
Notary Public # 136750
Lifetime Commission
